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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA
                                              *
REGINALD LEAMON ROBINSON
                                              *
                      Plaintiff,
                                              *
                      v.
                                              * Civil Action No. 18-00518-TNM
HOWARD UNIVERSITY, INC., et al.
                                              *
                      Defendants.
                                              *

                                              *
*      *       *           *       *   *      *        *       *      *       *      *       *

              MEMORANDUM IN OPPOSITION TO PLAINTIFF’S
        MOTION TO DELAY RESPONSE TO DEFENDANTS’ MOTION IN THE
                 ALTERNATIVE FOR SUMMARY JUDGMENT

               Plaintiff Reginald Robinson1 finds it appropriate to file yet another “Motion to

Delay,” after his first motion was denied for failure to comply with Federal Rule of Civil

Procedure 56(d).2 See September 24, 2018 Order. Robinson continues to make no attempt to

comply with Local Rule 7(h) in opposing the Motion of Defendants Howard University, Inc.,

Anthony K. Wutoh, Vanessa Love and Candi Smiley (the “Defendants”) to Dismiss, or in the

Alternative, for Summary Judgment. As explained in more detail below, Robinson’s failure to

comply with Rule 7(h) makes it nearly impossible to grant any motion pursuant to Federal Rule

1
    Robinson titled his motion a “pro se” motion. Robinson should not be considered a pro se
    litigant. Robinson admits that he is “a lawyer and a law professor” and describes himself as
    “an adept legal academic” who “knows the legal system.” ECF No. 26 at pgs. 12-13. As
    such, Robinson is not entitled to the leeway sometimes granted to pro se litigants. Richard v.
    Duke University, 480 F.Supp.2d 222 (D.D.C. 2007); see also Wightman-Cervantes v.
    Mueller, 750 F. Supp. 2d 76, 80 (D.D.C. 2010); Klayman v. Zuckerberg, 910 F. Supp. 2d
    314, 317 (D.D.C. 2012).
2
    Significantly, Robinson seeks only to delay this Court’s consideration of summary judgment.
    He does not dispute that Defendants’ request for dismissal is not ripe for decision.



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56(d), as Robinson has failed to identify with particularity even a single fact in dispute.

Robinson’s Second Motion to Delay also fails to comply with Federal Rule Civil Procedure

56(d) and applicable case law, including Convertino v. United States DOJ, 684 F.3d 93 (D.C.

Cir. 2012). Finally, Robinson’s Second Motion to Delay should be stricken and denied because

it is a motion for reconsideration in disguise that does not comply with this Court’s Standing

Order.


         A.    Robinson’s Failure to Comply with Local Rule 7(h)

               Local Rule 7(h) provides that an opposition to a motion for summary judgment

“shall be accompanied by a separate concise statement of genuine issues setting forth all material

facts as to which it is contended there exists a genuine issue necessary to be litigated, which shall

include references to the parts of the record relied on to support the statement.” The rule also

provides that “the Court may assume that facts identified by the moving party in its statement of

material facts are admitted, unless such a fact is controverted in the statement of genuine issues

filed in opposition to the motion.” Local Rule 7(h); see also Standing Order ¶ 14(B), ECF No. 2

(requiring strict compliance with Local Rule 7(h)).

               Here, Robinson has not filed a separate statement of facts or issues as to which he

asserts there is a genuine issue to be litigated. He has not disputed any of the material facts set

forth by Defendants in their motion. It is likely Robinson did not dispute any of the facts

established by Defendants because there is no basis for doing so, as the Defendants’ statement of

facts are largely based on Robinson’s own allegations and admissions. Robinson has also failed

to support his recitation of facts with citations to admissible evidence. Many of the facts alleged

by Robinson both in his Opposition to Defendants’ motion and in the Motion to Delay contain no




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citation whatsoever. Without any facts as identified as being in dispute, it is difficult to fathom

how Robinson could now assert that he requires discovery to oppose Defendants’ motion.

       B.      Because There Are No Facts in Dispute, No Discovery is Necessary

               In order for there to be a need for discovery, which would preclude summary

judgment, there must be some dispute of fact between the parties. See Rattigan v. Holder, 982 F.

Supp. 2d 69, 76 (D.D.C. 2013) (“If a party is seeking a continuance, that party must state

concretely why additional discovery is needed to oppose a motion for summary judgment.”). A

party opposing a summary judgment motion on the basis that discovery is needed bears the

burden of identifying the facts that would create a triable issue. Swann v. Office of the Architect

of the Capitol, 73 F. Supp. 3d 20, 27-28 (D.D.C. 2014) (citing Dunning v. Quander, 468 F. Supp.

2d 23, 28 n.5 (D.D.C. 2006), aff'd, 508 F.3d 8 (D.C. Cir. 2007) (denying a Rule 56(d) motion

because the requested information was immaterial)). If the requested discovery is “not directed

towards evidence that would create a genuine question of material fact, the Court may grant

summary judgment despite the discovery request.” Swann, 73 F. Supp. 3d at 28 (citing U.S. ex

rel. Folliard v. Gov't Acquisitions, Inc., 764 F.3d 19 (D.C. Cir. 2014)). Without any facts in

dispute, Robinson’s Second Motion to Delay cannot be granted.

       C.      Robinson’s Second Motion to Delay Does Not Meet the Requirements of Rule
               56(d) Motions

               Federal Rule 56(d) provides:


               (d) When Facts Are Unavailable to the Nonmovant. If a
               nonmovant shows by affidavit or declaration that, for specified
               reasons, it cannot present facts essential to justify its opposition,
               the court may:

               (1) defer considering the motion or deny it;

               (2) allow time to obtain affidavits or declarations or to take
               discovery; or



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               (3) issue any other appropriate order.

Fed. R. Civ. P. 56(d) (emphasis added). “To obtain relief under Rule 56(d) and thereby forestall

summary judgment, ‘the movant must submit an affidavit which ‘states with sufficient

particularity why additional discovery is necessary.’” Jeffries v. Lynch, 217 F. Supp. 3d 214, 227

(D.D.C. 2016) (citing Convertino v. U.S. Dep't of Justice, 684 F.3d 93, 99 (D.C. Cir. 2012)).

The D.C. Circuit has identified three requirements for a motion made pursuant to Rule 56(d): (1)

the affidavit must outline particular facts the movant intends to discover and describe why those

facts are necessary to the litigation; (2) the affidavit must explain why the movant could not

produce the facts in opposition to the motion for summary judgment; and (3) the affidavit must

show the facts are discoverable. Convertino, 684 F.3d at 99-100. Boilerplate or vague assertions

are not sufficient.   Jeffries, 217 F. Supp. 3d at 227 (citing U.S. ex rel Folliard v. Gov’t

Acquisitions, Inc., 764 F.3d 19. 26-27 (D.C. Cir. 2014)).         Case law directs trial courts to

“scrutinize Rule 56(d) motions and not to reflexively grant them.” SEIU Nat'l Indus. Pension

Fund v. Castle Hill Health Care Providers, LLC, 312 F.R.D. 678, 685 (D.D.C. 2015) (citing U.S.

ex rel. Folliard v. Gov't Acquisitions, Inc., 764 F.3d 19 (D.C. Cir. 2014)).

               A Rule 56(d) motion for additional discovery “is not designed to allow ‘fishing

expeditions,’ and plaintiffs must specifically explain what their proposed discovery would likely

reveal and why that revelation would advance the plaintiffs’ case.” Graham v. Mukasey, 608 F.

Supp. 2d 50, 54 (D.D.C. 2009); see also Hotel & Rest. Employees Union, Local 25 v. Att'y Gen.,

804 F.2d 1256, 1269 (D.C. Cir. 1986), vacated on other grounds, 808 F.2d 847 (D.C. Cir. 1987)

(“The procedure [under Rule 56(f)] is designed to prevent fishing expeditions by narrowing the

scope of discovery.”); see also Cotton v. Wash. Metro. Area Transit Auth., 2004 U.S. Dist.

LEXIS 3829 (D.D.C. March 3, 2004) (denying plaintiff’s motion because plaintiff had failed to

establish a nexus between the discovery sought and a development of facts essential to justify the


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opposition; any order allowing discovery would “amount to little more than a fishing

expedition.”); see also Harrison v. Office of the Architect of the Capitol, 281 F.R.D. 49, 52

(D.D.C. 2012) (“a party seeking relief under Rule 56(d) may not rely on speculation that

discovery will produce material evidence…rather, she must adduce support for the proposition

that discovery would have produced the evidence she anticipated) (internal citations omitted);

see also Morales v. Humphrey, 309 F.R.D. 44, 48 (D.D.C. 2015) (“Rule 56(d), moreover, may

not be used to defeat a motion for summary judgment when there is 'mere speculation' of

evidence not yet discovered.”).

               In his Second Motion to Delay, Robinson asserts that he “cannot adduce facts”

consistent with his claim that he suffered an adverse action and that he needs discovery so he can

possibly “adduce facts on the Title VII and Title IX allegations.” Second Motion to Delay, pgs.

13-14. Robinson has not made and cannot make the showing required by Rule 56(d).             With

regard to his common law claims, Robinson asserts that discovery “may contain facts that he

could adduce in opposition to Defendants’ motion for summary judgment.” Id. at 14. In short,

Robinson concedes that he cannot dispute any facts established by Defendants, but he would like

to embark on a fishing expedition to look for facts that might be useful to him. This is precisely

the maneuvering that Rule 56(d) and case law interpreting the rule were designed to prevent.

               Robinson also consistently fails to establish why the facts he seeks to discover are

necessary to oppose Defendants’ Motion.        For example, Robinson asserts that he requires

discovery concerning a lawsuit filed by “Jane Doe 5” (not a party to this action) against Howard

University, and information about confidential settlement negotiations pertaining to Jane Doe 5’s

lawsuit. Affidavit in Support of Second Motion to Delay at ¶ 30. Assuming such negotiations

have taken place, not only is this information not relevant and likely subject to confidentiality




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agreement, there is absolutely no reason Robinson would require information about confidential

settlement negotiations in another lawsuit to oppose Defendants’ Motion. Robinson does not

event attempt to explain why he would require this information to oppose Defendants’ Motion.

Robinson similarly asserts he requires discovery as to all “complaints of sexual harassment

and/or gender discrimination against” all University employees and students, since Defendants

Smiley and Love were first employed by the University. Id. at ¶ 22. There is no justification for

such an overbroad, tangentially related request. Moreover, Robinson again does not attempt to

justify why he requires such discovery.

               Also troubling and demonstrative of Robinson’s failure to comply with Rule

56(d) is Robinson’s claim that he requires discovery “regarding the names and locations of the

two female complainants” whose complaints launched the investigation that is at issue here. Id.

at ¶ 14. Robinson does not state why he needs this information, and this information is not

relevant to his claims.

               In short, although Robinson created a lengthy list of information and documents

he would like to review in order to invent a claim against Defendants, he has not shown why

those documents are necessary to this litigation. He has not met the requirements of Convertino.

Robinson should not be permitted to embark on a fishing expedition. Robinson’s Second Motion

to Delay should be denied once again as it does not meet the requirements of Convertino.

       D.      Robison’s Motion is a Disguised Motion for Reconsideration

               Robinson’s Second Motion to Delay is essentially a motion for reconsideration.

As such, it does not comply with Paragraph 15 of the Standing Order. Paragraph 15 of the

Standing Order provides that “[m]otions for reconsideration of prior rulings are strongly

discouraged” and shall be filed only “when the requirements of Federal Rules of Civil Procedure

54(b), 59(e) and/or 60(b) are met.” The Court is also clear that a motion for reconsideration will


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not be entertained to the extent it raises “arguments which should have been previously raised,

but are being raised for the first time.” See Nat’l Trust v. Dep’t of State, 834 F. Supp. 453, 455

(D.D.C. 1995).        Because Robinson does not comply with the Court’s Standing Order, his

disguised motion for reconsideration should be stricken in accordance with the Standing Order.


                                           Conclusion

               For the foregoing reasons, Plaintiff’s Motion to Delay Response to Defendants’

Motion in the Alternative for Summary Judgment should be DENIED.




Date: October 26, 2018                              /s/
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                                 CERTIFICATE OF SERVICE

               I HEREBY CERTIFY on this 26th day of October, 2018, the foregoing was served

via first-class postage prepaid mail to:

                               Reginald Leamon Robinson
                               1904 Autumn Ridge Circle
                               Silver Spring, MD 20906


                                                  /s/
                                                  Timothy F. McCormack




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